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     -
                  IN THE UNITED STATES DISTRICT COURT FOR THE
               .........MIDDLE DJTCTOALABAMA
                                            IMVISION

                                            UOP      P   j::..


                                      EBR, P)HACcFT Cl
                                       f

     Plaintiff(s),                                              NO.   :
                                              )
                                              )           DEMAND (MARK ONE)

                                                      EES     DNO
     M6
     Defendant(s).

                                           COMPLAINT

1.   Plaintiff(s)' address 'and telephone number:



2.   Name and address of defendant(s): -                 [IF ^
                                                             Vawjrl 80_

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                                                                               A

     Place of alleged violation of civil rights:


                                                                      i1jiL
                                                                          •1




4.   Date of alleged violation of civil rights:    O1j21'LL aO O(L'                or
     Case 2:16-cv-00698-WKW-SMD Document 1 Filed 08/25/16 Page 2 of 2



6.   Relief requested:____

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